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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

             DENNIS CASEY,
                                                     Case No. 18-cv-11907
                 Plaintiff,
                                            UNITED STATES DISTRICT COURT JUDGE
                     v.
                                                    GERSHWIN A. DRAIN
           RICK SNYDER ET AL.,
                                              UNITED STATES MAGISTRATE JUDGE
                                                     ANTHONY P. PATTI
            Defendants.
 _____________________________/

        OPINION AND ORDER VACATING ORDER OF REFERENCE TO
     MAGISTRATE JUDGE [5] AND SUMMARILY DISMISSING COMPLAINT [1]

I.    Introduction

      This matter is before the Court on Plaintiff Dennis Casey’s pro se civil rights

Complaint under 42 U.S.C. § 1983. Dkt. No. 1. Plaintiff is a state prisoner at the

Lakeland Correctional Facility in Coldwater, Michigan. The Defendants are Rick

Snyder, Governor of the State of Michigan; the Michigan Department of

Corrections; Heidi Washington, Director of the Michigan Department of

Corrections; Noah Nagy, warden at the Lakeland Correctional Facility; Bonita J.

Hoffner, past warden at the Lakeland Facility; Bill Schuette, the Attorney General

for the State of Michigan; and unnamed correctional officials identified as Jane or

John Does. See id.
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      Casey alleges here that, although the Michigan Department of Corrections is

purportedly holding him in custody under criminal file number 80-046-357-FY,

that case was dismissed on April 28, 1981. He further maintains that even though

he was serving time for two other cases in the 1980s, those cases were overturned

by the Michigan Court of Appeals and dismissed in 1984 and in 1989. Dkt. No. 1,

p. 3 (Pg. ID 3). He was told in 1989 that he would be released from prison, he

contends.   But when he informed correctional officials of the state court’s

supposed statements, he allegedly suffered from harassment, false misconduct

reports, and detention for long periods of time. Id. And, according to Plaintiff, the

Defendants failed or refused to assist him. Id.

      Plaintiff asserts two claims in his Complaint: (1) that the Defendants have

unlawfully detained and restrained him of his liberty without due process of law;

and (2) that the Defendants have violated his constitutional rights by retaliating

against him for exercising his right of access to the courts. Id. He seeks a

declaratory judgment that the Defendants have violated his civil rights and

retaliated against him; an order prohibiting the Defendants from depriving him of

his liberty without due process of law; and money damages for unlawful

imprisonment. Id. at p. 4 (Pg. ID 4).




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II.   Discussion

      As an initial matter, the Court notes that it granted Plaintiff permission to

proceed in this action without prepayment of fees and costs. Dkt. No. 4. The

Court subsequently referred the case to United States Magistrate Judge Anthony P.

Patti for all non-dispositive pretrial proceedings. Dkt. No. 5. Upon further review

of this case, the Court finds that the Complaint fails to state a plausible claim for

relief. Accordingly, the Court will vacate the order of reference to Magistrate

Judge Patti and will analyze Plaintiff’s claims.

      Under the Prison Litigation Reform Act of 1996, federal district courts must

screen an indigent prisoner’s complaint and dismiss “any prisoner action brought

under federal law if the complaint is frivolous, malicious, fails to state a claim

upon which relief can be granted, or seeks monetary relief from a defendant

immune from such relief.” Flanory v. Bonn, 604 F.3d 249, 252 (6th Cir. 2010)

(internal citations omitted). A complaint is frivolous if it lacks an arguable basis in

law or in fact. Neitzke v. Williams, 490 U.S. 319, 325 (1989). “A complaint is

subject to dismissal for failure to state a claim if the allegations, taken as true,

show the plaintiff is not entitled to relief.” Jones v. Bock, 549 U.S. 199, 215

(2007).

      Section 1983 requires that a plaintiff adequately allege: “(1) that he or she

was deprived of a right secured by the Constitution or laws of the United States;

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and (2) that the deprivation was caused by a person acting under color of law.”

Robertson v. Lucas, 753 F.3d 606, 614 (6th Cir. 2014). While a complaint “does

not need detailed factual allegations,” the “[f]actual allegations must be enough to

raise a right to relief above the speculative level on the assumption that all the

allegations in the complaint are true (even if doubtful in fact).” Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (internal footnote and citations omitted). In

other words, “a complaint must contain sufficient factual matter, accepted as true,

‘to state a claim to relief that is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Twombly, 550 U.S. at 570).               “A claim has facial

plausibility,” the Court has held, “when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556).

III.   Analysis

       A.    Claim One: Unlawful Detention

       Plaintiff’s claim that he is being detained unlawfully and restrained of his

liberty fails to state a claim for which relief may be granted because it challenges

his conviction and present confinement. The sole federal remedy for a state

prisoner’s challenge to the fact or duration of physical imprisonment is a petition

for the writ of habeas corpus, following exhaustion of state remedies. Preiser v.




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Rodriguez, 411 U.S. 475, 499 n.14, 500 (1973). Furthermore, the Supreme Court

has explained that:

         to recover damages for allegedly unconstitutional conviction or
         imprisonment, or for other harm caused by actions whose
         unlawfulness would render a conviction or sentence invalid, a § 1983
         plaintiff must prove that the conviction or sentence has been reversed
         on direct appeal, expunged by executive order, declared invalid by a
         state tribunal authorized to make such determination, or called into
         question by a federal court’s issuance of a writ of habeas corpus, 28
         U.S.C. § 2254. A claim for damages bearing that relationship to a
         conviction or sentence that has not been so invalidated is not
         cognizable under § 1983.

Heck v. Humphrey, 512 U.S. 477, 486–87 (1994) (footnote omitted). Heck and its

progeny, therefore, establish the following:

         that a state prisoner’s § 1983 action is barred (absent prior
         invalidation)—no matter the relief sought (damages or equitable
         relief), no matter the target of the prisoner’s suit (state conduct leading
         to conviction or internal prison proceedings)—if success in that action
         would necessarily demonstrate the invalidity of confinement or its
         duration.

Wilkinson v. Dotson, 544 U.S. 74, 81–82 (2005).

         Records maintained by the Michigan Department of Corrections on its

official website indicate that Plaintiff was sentenced in 1981 to life imprisonment

for first-degree criminal sexual conduct involving a person under the age of

thirteen. 1 Although Plaintiff alleges that his criminal case was dismissed in 1981,


1
  See MICHIGAN DEPARTMENT OF CORRECTIONS, Biographical Information,
available at http://mdocweb.state.mi.us/OTIS2/otis2profile.aspx?mdocNumber=163197 (last visited
Aug. 23, 2018).
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he has not submitted any materials which support this allegation. His inability to

obtain the public record for his criminal case does not indicate that the case was

dismissed. Dkt. No. 1, pp. 6–8 (Pg. ID 6–8). Given the decades between his

conviction and his request for the case file, the file might simply have been

destroyed pursuant to the state court’s document retention policies.

         To conclude, Plaintiff has failed to adequately allege that his conviction was

reversed, expunged, or invalidated by state officials, and success in this action

would necessarily demonstrate the invalidity of Plaintiff’s conviction and

imprisonment. Therefore, his first claim is not cognizable in this § 1983 action.

Heck, 512 U.S. at 487.

         B.      Claim Two: Retaliation

         Plaintiff’s second claim—that some of the Defendants have retaliated

against him for exercising his right of access to the courts—likewise fails to state a

claim for relief.2

         A First Amendment retaliation claim has three elements:

              (1) the plaintiff engaged in protected conduct; (2) an adverse
              action was taken against the plaintiff that would deter a
              person of ordinary firmness from continuing to engage in
              that conduct; and (3) there is a causal connection between
              elements one and two—that is, the adverse action was
              motivated at least in part by the plaintiff’s protected
              conduct.

2
  Plaintiff does not assert his retaliation claim against Defendants Snyder,
Washington, Nagy, and Hoffner. Dkt. No. 1, p. 3 (Pg. ID 3).
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Maben v. Thelen, 887 F.3d 252, 264 (6th Cir. 2018) (quoting Thaddeus–X v.

Blatter, 175 F.3d 378, 394 (6th Cir. 1999) (en banc).

      Here, Plaintiff has not pleaded sufficient details to support his retaliation

allegations. He has not explained what steps he took to inform state correctional

officials about his criminal case. The Complaint is absent of details regarding state

officials’ conduct which purportedly constitutes retaliation. Finally, Plaintiff has

not properly pled that any “adverse action was motivated at least in part by [his]

protected conduct.” Thaddeus-X, 175 F.3d at 394 (collecting cases). Plaintiff’s

conclusory allegations of unconstitutional conduct, without specific factual

support, do not state a plausible claim for relief under § 1983. See, e.g., Iqbal, 556

U.S. at 678; Twombly, 550 U.S. at 555; Terrance v. Northville Reg’l Psychiatric

Hosp., 286 F.3d 834, 842 (6th Cir. 2002); Lillard v. Shelby Cty. Bd. of Educ., 76

F.3d 716, 726 (6th Cir. 1996). A complaint must include a factual basis for claims

of unconstitutional conduct by state actors. See Chapman v. Detroit, 808 F.2d 459,

465 (6th Cir. 1986) (citations omitted). And because a specific factual basis is

absent here, Plaintiff’s retaliation claim fails.

IV.   Conclusion and Order

      For the reasons detailed above, Plaintiff has not stated a plausible claim for

which relief may be granted.


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      Accordingly, IT IS ORDERED that the order of reference to the Magistrate

Judge is VACATED. Dkt. No. 5.

      IT IS FURTHER ORDERED that the Complaint is DISMISSED WITH

PREJUDICE pursuant to 28 U.S.C. §§ 1915(e)(2)(B) and 1915A. Dkt. No. 1.

      IT IS FURTHER ORDERED that an appeal from this decision would be

frivolous and could not be taken in good faith. 28 U.S.C. § 1915(a)(3).

      SO ORDERED.

Dated: August 30, 2018                             /s/Gershwin A. Drain
                                                   GERSHWIN A. DRAIN
                                                   United States District Judge




                          CERTIFICATE OF SERVICE

           Copies of this Order were served upon attorneys of record on
              August 30, 2018, by electronic and/or ordinary mail.
                                /s/ Tanya Bankston
                                    Deputy Clerk




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